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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

                                            JURY TRIAL DEMANDED
MALIBU MEDIA, LLC,
                                            Case No. 2:17-cv-01321-WJM-MF
Plaintiff,

v.

TIM MCMANUS and GREENWOOD
DIGITAL, LLC,

Defendant.


 PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE [CM/ECF 57]

      Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned

counsel and pursuant to this Honorable Court’s Order to Show Cause [CM/ECF 57]

hereby submits the following memorandum of law discussing the reasons Plaintiff’s

pending Motion to Dismiss [CM/ECF 56] (hereinafter “Plaintiff’s Motion to

Dismiss”) should not be denied and briefing on the Motion to Dismiss should

continue.
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      .

                            STATEMENT OF FACTS

      Plaintiff has moved for this Court to Order dismissal with prejudice of both

the Plaintiff’s Amended Complaint, and the Defendants’ Counterclaim for Abuse of

Process.

       This case involves a claim of copyright infringement by means of BitTorrent

file sharing technology. In its Second Amended Complaint [CM/ECF 41], Plaintiff

alleges that Defendant used BitTorrent technology to illegally obtain and distribute

Malibu’s copyrighted movies.          However, after further investigation into

representation made by Defendants regarding liability, and upon additional

investigation by Plaintiff, Plaintiff has elected not to pursue its claim against

Defendants as present evidence does not support the time and expense that would be

incurred in an attempt to bear out Defendants’ infringer status as a direct or

contributory infringer as it appears the Defendants are sophisticated IT professionals

with the knowledge to hide infringing activity. For this reason, and to conserve

judicial resources and prevent unnecessary expense for the parties, Plaintiff

respectfully requests that this Court dismiss with prejudice Plaintiff’s claim against

Defendants. In addition, because this Court’s dismissal with prejudice of Plaintiff’s

claims would eliminate any actual case or controversy in this proceeding, Defendant



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could opt to pursue a fee award.1 Therefore, Plaintiff asks that the Court to also

dismiss Defendants’ counterclaim.

                                                ARGUMENT

         A. Plaintiff Has a Right Request Dismissal of its Second Amended
            Complaint and Dismissal Would Not Prejudice Defendants

         By its Motion to Dismiss Plaintiff has effectively requested that this

Honorable Court reconsider its position in the Order at CM/ECF 34 & 35, that it

would not accept a voluntary dismissal of the instant case unless it is with the consent

of both parties. As this Court may recall Plaintiff, and this Honorable Court, have

both discussed mutual dismissal of claims and Defendants remain opposed.

However, Federal Rule of Civil Procedure (“Fed. R. Civ. P.”) 41(a) provides that

upon motion Plaintiff can request this Honorable Court award dismissal and that is

precisely the relief that Plaintiff’s Motion to Dismiss seeks.

         Plaintiff respects the judicial process and is merely enforcing its rights as

intended by Congress. See Malibu Media, LLC v. Does 1-28, 295 F.R.D. 527, 535

(M.D. Fla. 2012) ("Malibu certainly has the right to protect its copyright, assuming

it owns a protectable copyrighted work, by bringing infringement actions against

those it believes engaged in infringing conduct.”); see also Malibu Media, LLC v.

Doe, 2015 U.S. Dist. LEXIS 108934, *4 (S.D.N.Y. Aug. 18, 2015) (“To Plaintiff's


1
  This is not a representation that Plaintiff believes Defendants are entitled to any fee award. Any motion for fees
will be opposed, Plaintiff merely demonstrates that dismissal with prejudice does not shut Defendants off from filing
a motion for fees pursuant to the Copyright Act.

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credit, it has acknowledged the potential for abuse and states that its policy is to

allow defendants to proceed anonymously and would consent to a protective

order.”).

      Plaintiff’s decision is a business decision based on the examination of

information provided by the Defendants. Defendants are savvy IT professionals

with the knowledge and capability to hide infringing activity. Other courts have

recognized Plaintiff’s right to dismissal based on a business decision. See Metro

Media Entm't, LLC v. Steinruck, Civil Action No. DKC 12-0347, 2014 U.S. Dist.

LEXIS 120474 (D. Md. Aug. 27, 2014) (allowing dismissal when the Plaintiff

believes a jury would find the Defendant liable for copyright infringement but the

cost of moving forward may not justify the damages awarded, plus Plaintiff had

concerns about evidence spoliation); Malibu Media, LLC v. Ricupero, 705 F. App'x

402, 408 (6th Cir. 2017) (“plaintiff's cost-benefit analysis of pursuing further

litigation may serve as sufficient explanation of its dismissal.”); Bridgeport Music,

Inc. v. Universal-MCA Music Publ'g, Inc., 583 F.3d 948, 955 (6th Cir. 2009)

(“plaintiffs' cost-benefit analysis provided a reasonable explanation for seeking

dismissal in these cases.”); Malibu Meida, LLC v. Shekoski, No. 13-12217, 2015

U.S. Dist. LEXIS 63778 at *3-4 (E.D. Mich. May 15, 2015) (“The Court finds that

whether Plaintiff seeks dismissal to avoid expensive litigation, or because it no




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longer has a good faith belief that Defendant is the direct infringer, Plaintiff has a

justifiable reason to dismiss this lawsuit.”)

      Other courts have found that voluntary dismissal is appropriate when the cost

of litigation is too burdensome on Plaintiff or if information discovered may

exculpate defendant. See e.g., Malibu Media, LLC v. Donald Adams, et al., Case No.

1:17-cv-08429, United States District Court for the Northern District of Illinois,

CM/ECF 38 (attached hereto as Exhibit “A”), October 18, 2018; Malibu Media, LLC

v. Shekoski, 2015 U.S. Dist. LEXIS 63778, *3–4 (E.D. Mich. May 15, 2015) (“The

Court finds that whether Plaintiff seeks dismissal to avoid expensive litigation, or

because it no longer has a good faith belief that Defendant is the direct infringer,

Plaintiff has a justifiable reason to dismiss this lawsuit.”). Therefore, Plaintiff has

no improper motive in its to move for dismissal in this case, and requests that this

Honorable Court grant its request for dismissal of the Second Amended Complaint.

      Therefore, Plaintiff wishes to dismiss its case with prejudice, each side

bearing its own fees and costs. Indeed, it cannot be said to further the purposes of

the Copyright Act to reward a defendant where there is substantial evidence which

indicates Defendant used BitTorrent to infringe copyrighted content, and in a case

like this where infringing distribution on BitTorrent ended after the suit was

instituted thus fulfilling the goal of getting the infringement to cease.




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      “Dismissal on a motion under Rule 41(a)(2) is within the sound discretion of

the court.” Hoffman La Roche Inc. v. Genpharm Inc., 50 F. Supp. 2d 367, 371

(D.N.J. 1999) citing Ockert v. Union Barge Line Corp., 190 F.2d 303 (3d Cir. 1951).

Generally, a motion for dismissal "should not be denied absent substantial prejudice

to the defendant." Johnston Development Group, Inc. v. Carpenters Local Union

Co., 728 F. Supp. 1142, 1146 (D.N.J. 1990). When the Plaintiff "specifically

request[s] dismissal with prejudice, it has been held that the district court must grant

that request." 9 Charles A. Wright & Arthur R. Miller § 2367 (3d ed. 2008)

(emphasis added). In this case there is no prejudice to Defendants in a dismissal

with prejudice of the Second Amended Complaint because there is no concern to

Defendants that Plaintiff will refile suit in the future. Further, while Plaintiff

respectfully requests this Honorable Court dismiss the Second Amended Complaint

with each party to bear its own costs, Plaintiff also recognizes at that this Honorable

Court may hold, as discussed above, that any such dismissal with prejudice of the

Second Amended complaint is without prejudice to Defendants moving for attorney

fees and costs under Section 505 of the Copyright Act and/or 28 U.S.C. 1920,

leaving the briefing on entitlement to fees open for Defendants to pursue if they

choose.

      For the reasons stated above, Plaintiff respectfully requests this Honorable

court not deny the pending Plaintiff’s Motion to Dismiss, and permit briefing to


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continue so that this matter may be resolved as intended pursuant to the Fl. R. Civ.

P. 41(a)(2).

      B. Plaintiff Requests Dismissal of Defendants Abuse of Process
         Counterclaim as it Serves no Purpose Following Dismissal of the
         Second Amended Complaint


      Defendants counterclaim for Abuse of Process is clearly calculated to leave

Defendant open to moving for a fee award should they prevail. Plaintiff is confident

that Defendant would not ultimately prevail on the Counterclaim for Abuse of

Process but notes that the access to moving for fees may be had as a result of the

Court’s agreeing to dismiss the Second Amended Complaint if the Court so chooses.

      Further, the Court in Selas Corp. of Am. v. Wilshire Oil Co., 57 F.R.D. 3 (E.D.

Pa. 1972) was faced with a similar situation to the instant matter. The Plaintiff

wished to dismiss its claims and there was a pending Counterclaim for abuse of

process. However, the Plaintiff sought a dismissal without prejudice. The Court

ultimately decided that a dismissal with prejudice was the appropriate remedy to

ensure that there was no prejudice to the defendant.

      We have … concluded that Kelley would suffer an irremediable injustice as a
      result of a dismissal without prejudice, namely, the effective deprivation of
      the opportunity to sue in malicious prosecution. A dismissal with prejudice
      avoids this result. […] [D]ismissal of an action with prejudice is a complete
      adjudication of the issues presented by the pleadings and is a bar to further
      action between the parties. An adjudication in favor of the defendants, by
      court or jury, can rise no higher than this.



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Selas Corp. of Am. v. Wilshire Oil Co. at 7 (internal citations omitted). The Court

also declined to award attorneys fees and costs stating:

      Here, Kelley has received all the relief, and the only relief, to which he would
      have been entitled had this case gone to trial and been resolved in his favor.
      We would not have awarded Kelley attorney's fees after a trial on the merits
      and we can find no justification for awarding them in this analogous situation.

Id. (internal citations omitted).

      However, while Plaintiff respectfully requests dismissal of both claims with

prejudice, in the alternative Plaintiff requests this Honorable Court grant the Motion

to Dismiss in part by dismissing the Second Amended Complaint with prejudice,

leaving only Defendants’ Counterclaim for Abuse of Process for adjudication.

      WHEREFORE, Plaintiff respectfully requests this Honorable Court not deny

Plaintiff’s pending Motion to Dismiss and allow briefing on the Motion to Dismiss

to Continue.

Dated: April 17, 2019                  Respectfully submitted,
                                       By: /s/ Patrick J. Cerillo
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                           CERTIFICATE OF SERVICE



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      I hereby certify that on April 17, 2019, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF and that service was
perfected on all parties through this system.

                                              By:     /s/ Patrick J. Cerillo




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